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LOCAL BANKRUPTCY FORM 3015-1.1

United States Bankruptcy Court
District of Colorado

Inre Carol Vivian Atencio Case No. 16-11606 JGR

 

Debtor(s) Chapter 13

AMENDED CHAPTER 13 PLAN
INCLUDING VALUATION OF COLLATERAL AND CLASSIFICATION OF CLAIMS

CHAPTER 13 PLAN: This chapter 13 plan dated June 21, 2016 supersedes all previously filed plans.

NOTICE TO CREDITORS: THIS PLAN MAY MODIFY YOUR RIGHTS. If you oppose any provision of the plan you must file an
objection with the bankruptcy court by the deadline fixed by the court. (Applicable deadlines given by separate notice.) If you do not file
a timely objection, you will be deemed to have accepted the terms of the plan, which may be confirmed without further notice or

hearing.

MOTIONS FOR VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11 U.S.C. § 506 (Check
any applicable box(s)):

L] This plan contains a motion for valuation of personal property collateral and determination of secured
status under 11 U.S.C. § 506,

L] The debtor is requesting a valuation of rea! property collateral and determination of
secured status under 11 U.S.C. § 506 by separate motion. List status of motion here (i.e.. date filed, date

granted, to be filed contemporaneously, etc.)

 

SECURED CLAIMS SUBJECT TO VALUATION OF COLLATERAL AND DETERMINATION OF SECURED STATUS UNDER 11
U.S.C. § 506 (additional detail must be provided at Part IV of the plan):

 

Name of Creditor Description of Collateral (pursuant to L.B.R. 3012-1)
Adams County Treasurer 7651 Osage Street Denver, CO 80221-3428 Adams County

 

 

 

 

 

|. BACKGROUND INFORMATION

A. Prior bankruptcies pending within one year of the petition date for this case:

 

Case Number & Chapter Discharge or Dismissal/Conversion Date
-NONE-

 

 

 

 

 

 

B. Thedebtor(s):  [¥] is eligible for a discharge; or
[_] is not eligible for a discharge and is not seeking a discharge.

C. Prior states of domicile: within 730 days Colorado
within 910 days Colorado .

The debtor is claiming exemptions available in the _X_ state of CO
or ___ federal exemptions .

D. The debtor owes or anticipates owing a Domestic Support Obligation as defined in 11 U.S.C. § 101(14A). Notice
will/should be provided to these parties in interest:
1. Spouse/Parent_
2. Government _

3. Assignee or other
The debtor has provided the Trustee with the address and phone number of the Domestic Support Obligation

recipient or cannot provide the address or phone number because it/they is/are not available.

E. The current monthly income of the debtor, as reported on Interim Form B22C is:
_X_ below __ equal to or___ above the applicable median income.

1

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ll. PLAN ANALYSIS

A. Total Debt Provided for under the Plan and Administrative Expenses
1. Total Priority Claims (Class One)

a. Unpaid attorney's fees __ / $ 0.00
Total attorney's fees are estimated to be $_0.00_ of which $_0.00_has been prepaid.
b. Unpaid attorney's costs (estimated) $ 0.00
c. Total Taxes - $ 0.00
Federal: $0.00 ; State: $0.00
d. Other $ 0.00
2. Total of payments to cure defaults (Class Two) $ 4,514.52
3. Total payment on secured claims (Class Three) $ 1,999.84
4. Total of payments on unsecured claims (Class Four) $ 0.00
5. Sub-total . a $ 6,514.36
6. Total trustee's compensation (10% of debtor's payments) $ 735.00
7. Total debt and administrative expenses _ $ 7,350.00

B. Reconciliation with Chapter 7

THE NET PROPERTY VALUES SET FORTH BELOW ARE LIQUIDATION VALUES
RATHER THAN REPLACEMENT VALUES. THE REPLACEMENT VALUES MAY
APPEAR IN CLASS THREE OF THE PLAN.
1. Assets available to Class Four unsecured creditors if Chapter 7 filed:

 

 

 

 

 

 

 

 

 

 

 

a. _ Value of debtor's interest in non-exempt property $ 0.00
Property Value Less Costs of Less Liens X Debtor's Less = Net Value
Sale Interest Exemptions
-NONE-

b. Plus: Value of property recoverable under avoiding powers $ 0.00
Cc. Less: Estimated Chapter 7 administrative expenses $ 2,082.05
d. Less: amounts payable to priority creditors other than costs of administration $ 0.00

e. Equals: estimated amount payable to Class Four creditors if Chapter 7 filed (if
negative, enter zero) $ 0.00
2. Estimated payment to Class Four unsecured creditors under the Chapter 13 Plan 5 orn

plus any funds recovered from "other property" described in Section IlI.A.3 below.
lll. PROPERTIES AND FUTURE EARNINGS SUBJECT TO THE SUPERVISION AND CONTROL OF THE TRUSTEE

A. The debtor submits to the supervision and control of the Trustee all or such portion of the debtor's future earnings or other
future income as is necessary for the execution of the Plan, including:

1. Future earnings of $_150.00_ per month which shall be paid to the trustee for a period of
approximately __4 months, beginning _3/26/16_.

Amount Number of Months Total
150.00 45 6,750.00

 

One time and date

2. Amounts for the payment of Class Five post-petition claims included in above: $__.
3. Other property (specify):

AT THE TIME THE FINAL PLAN PAYMENT IS SUBMITTED TO THE TRUSTEE, THE DEBTOR SHALL FILE WITH THE COURT
THE CERTIFICATION REGARDING DOMESTIC SUPPORT OBLIGATIONS REQUIRED BY 11 U.S.C. § 1328(a) AND, IF NOT
ALREADY FILED, INTERIM FORM B23 REGARDING COMPLETION OF FINANCIAL MANAGEMENT INSTRUCTION REQUIRED
BY 11 U.S.C. § 1328(g)(1).

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B. The debtor agrees to make payments under the Plan as follows:

[_] VOLUNTARY WAGE ASSIGNMENT TO EMPLOYER:
Employer's Name, address, telephone number:

 

 

 

 

OR
f¥| DIRECT PAYMENT: from debtor to Trustee

Paid in the following manner:
$ tobe deducted___— (weekly, monthly, per pay period, etc.)

IV. CLASSIFICATION AND TREATMENT OF CLAIMS

CREDITOR RIGHTS MAY BE AFFECTED. A WRITTEN OBJECTION MUST BE FILED IN ORDER TO CONTEST THE TERMS OF
THIS PLAN. CREDITORS OTHER THAN THOSE IN CLASS TWO A AND CLASS THREE MUST FILE TIMELY PROOFS OF CLAIM
IN ORDER TO RECEIVE THE APPLICABLE PAYMENTS.

A. Class One -- Claims entitled to priority under 11 U.S.C. § 507. Unless other provision is made in paragraph V.(C),
each creditor in Class One shall be paid in full in deferred cash payments prior to the commencement of distributions to
any other class (except that the payments to the Trustee shall be made by deduction from each payment made by the
debtor to the Trustee) as follows:

1. Allowed administrative expenses

(a) Trustee's compensation (10% of amounts paid by debtor under this Plan) $ 735.00
(b) Attorney's Fees (estimated and subject to allowance) $ 0.00
(c) Attorney's Costs (estimated and subject to allowance) $ 0.00
2. Other priority claims to be paid in the order of distribution provided by 11 U.S.C. § 507 (if none,
indicate) -NONE-
(a) Domestic Support Obligations: A proof of claim must be timely filed in order for the Trustee to
distribute amounts provided by the plan.
Priority support arrearage: Debtor owes past due support to____ in the total amount of $____ that will be paid
as follows:
[ } Distributed by the Trustee pursuant to the terms of the Plan; or
[ ] Debtor is making monthly payments via a wage order [ ] or directly[ ] (reflected on Schedule | or
J) inthe amount of $__to__. Of that monthly amount, $____is for current support payments and

$__is to pay the arrearage.

Other: For the duration of the plan, during the anniversary month of confirmation, the debtor shall file with the Court and submit to
the Trustee an update of the required information regarding Domestic Support Obligations and the status of required

 

payments.
b. Federal Taxes $ 0.00
c. State Taxes $ 0.00
d. Other Taxes (describe): $ 0.00
e. Other Class One Claims (if any) (describe): $ 0.00

 

a None

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B. Class Two -- Defaults

1. Class Two A (if none, indicate) -- Claims set forth below are secured only by an interest in real property that is the
debtor's principal residence located at 7651 Osage Street Denver, CO 80221-3428 Adams County. Defaults shall
be cured and regular payments shall be made:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[] None

Regular Payment
per month (i.e. month, week,
Total Default Total Amount No. of etc.) to be Made Directly to
Amount to be| Interest to Cure| Months to Creditor and Date of First
Creditor Cured Rate Arrearage Cure Payment
Reverse Mortgage Solutions, 4,514.52 0% 4,514.52 49 0.00

Inc.

2. Class Two B (if none, indicate) -- Pursuant to 11 U.S.C. §1322(b)(5), secured (other than claims secured only by an
interest in real property that is the debtor's principal residence) or unsecured claims set forth below on which the last
payment is due after the date on which the final payment under the Plan is due. Defaults shall be cured and regular
payments shall be made:

[X] None

Regular Payment per
Total month (i.e. month, week,
Total Default Amount to No. of| etc.) to be Made Directly to
Amount to | Interest Cure | Months to Creditor and Date of First
Creditor Collateral be Cured| Rate Arrearage Cure Payment
3. Class Two C - Executory contracts and unexpired leases are rejected, except the following which are assumed:
hy] None
Regular Monthly
Payment Made Directly
Other Party to Lease or Property, if any, Subject to the Total Amount to| No. of Months| to Creditor and Date of
Contract Contract or Lease Cure, if any to Cure Payment

 

 

 

 

 

 

 

IN THE EVENT THAT DEBTOR REJECTS THE LEASE OR CONTRACT, CREDITOR SHALL FILE A PROOF OF CLAIM OR
AMENDED PROOF OF CLAIM REFLECTING THE REJECTION OF THE LEASE OR CONTRACT WITHIN 30 DAYS OF THE
ENTRY OF THE ORDER CONFIRMING THIS PLAN, FAILING WHICH THE CLAIM MAY BE BARRED.

C. Class Three -- All other allowed secured claims (other than those designated in Classes Two A and Two B above) shall
be divided into separate classes to which 11 U.S.C. § 506 shall or shall not apply as follows:

1. Secured claims subject to 11 U.S.C. § 506 (Real Property): In accordance with FED. R. BANKR. P. 3012,
7004 and L.B.R. 3012-1, the debtor has filed and served a separate motion for valuation of collateral and
determination of secured status under 11 U.S.C. § 506 as to the real property and claims listed on page 1 of this plan
and below. The plan is subject to the court’s order on the debtor's motion. If the court grants the debtor’s motion, the
creditor will have an unsecured claim in the amount of the debt as stated in any timely filed, allowed proof of claim,
including such claims filed within thirty days from entry of an order determining secured status under FED. R.

BANKR. P. 3002(c)(1) and (3). The creditors listed on page 1 and below shall retain the liens securing their claims
until discharge under 11 U.S.C. § 1328, or, if the debtor is not eligible for a discharge, upon the debtor's successful

completion of all plan payments and the closing of the case.

L None

 

. Description of Collateral Amount of Debt
Name of Creditor (pursuant to L.B.R. 3012-1) as Scheduled

 

Proof of Claim amount, if any

 

 

 

 

 

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Description of Collateral Amount of Debt
Name of Creditor (pursuant to L.B.R. 3012-1) as Scheduled Proof of Claim amount, if any
Adams County Treasurer 7651 Osage Street Denver, CO 1,730.22
80221-3428 Adams County GT! CVA.
2. Secured claims subject to 11 U.S.C. § 506 (Personal Property): The debtor moves the court, through this

chapter 13 plan, for a valuation of collateral and determination of secured status under 11 U.S.C. § 506 regarding the
personal property and claims below. The following creditors shall retain the liens securing their claims until discharge
under 11 U.S.C. § 1328 or payment in full under nonbankruptcy law.

iv] None

(a) The following creditors shall be paid the value of their interest in collateral. Any remaining portion of the allowed
claim shall be treated as a general unsecured claim.

 

Creditor

 

Total Amount
Payable

Adequate
Protection
Payment

Interest
Rate

Amount of
Debt as
Scheduled

Confirmation
Value of
Collateral

Description of Collateral

 

 

 

 

 

 

 

 

(b) The following creditors shall be paid the remaining balance payable on the debt over the period required to pay
the sum in full.

 

Creditor

 

Total Amount
Payable

Interest
Rate

Adequate
Protection
Payment

Amount of
Debt as
Scheduled

Confirmation
Value of
Collateral

Description of Collateral

 

 

 

 

 

 

 

 

lf adequate protection payments are indicated, such payments will be made by the trustee to the creditors indicated
above until such time that superior class creditors are paid in full. Any adequate protection payments made will be
subtracted from the total amount payable. Unless otherwise provided, adequate protection payments will accrue from
the date of filing but will not be made until the creditor has filed a proof of claim.

3. Secured claims to which 11 U.S.C. § 506 shall not apply (personal property). The following creditors

shall retain the liens securing their claims, and they shall be paid the amount specified which represents the
remaining balance payable on the debt over the period required to pay the sum in full:

| None

 

 

Creditor

Amount of Debt as
Scheduled

 

Interest Rate Total Amount Payable

 

 

 

 

Description of Collateral

 

| Creditor

4. Property being surrendered: The debtor surrenders the following property securing an allowed secured
claim to the holder of such claim:

lv None

| Property | Anticipated Date of Surrender |
Relief from the automatic stay to permit enforcement of the liens encumbering surrendered property shall be deemed
granted by the Court at the time of confirmation of this Plan. With respect to property surrendered, no distribution on
the creditor's claim shall be made unless that creditor files a proof of claim or an amended proof of claim to take into
account the surrender of the property.

IF DEBTOR IS PROPOSING TO MODIFY THE RIGHTS OF CREDITORS IN CLASS TWO AND/OR THREE, DEBTOR MUST
SPECIFICALLY SERVE SUCH CREDITOR IN THE MANNER SPECIFIED IN FED. R. BANKR. P. 9014 AND 7004.

D. Class Four -- Allowed unsecured claims not otherwise referred to in the Plan. Class Four Claims are provided for in
an amount not less than the greater of:

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The amount necessary to meet the best interests of creditors pursuant to 11 U.S.C. § 1325(a)(4) as set forth in Part Il;
or

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2. Total disposable income for the applicable commitment period defined by 11 U.S.C. § 1325 (b)(1)-(4).

The monthly disposable income of $__ has been calculated on Form B22C (Chapter 13). Total disposable income is
$__ which is the product of monthly disposable income of __ times the applicable commitment period of __.

a. [X]Class Four claims are of one class and shall be paid a pro rata portion of all funds remaining after payment
by the Trustee of all prior classes; or

A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523 (a)(2), (4), or
(6), will share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is
dismissed, converted to a Chapter 7 or discharge enters , unless ordered otherwise.

b. [ ] Class Four claims are divided into more than one class as follows:

A timely filed claim, found by the Court to be non-dischargeable pursuant to 11 U.S.C. § 523 (a)(2), (4), or (6), will
share pro-rata in the distribution to Class Four. Collection of the balance is stayed until the case is dismissed,
converted to a Chapter 7 or discharge enters , unless ordered otherwise.

E. Class Five (if none, indicate) -- Post-petition claims allowed under 11 U.S.C. § 1305. Post-petition claims allowed
under 11 U.S.C. § 1305 shall be paid as follows: __

[X] None
V. OTHER PROVISIONS

A. Payment will be made directly to the creditor by the debtor(s) on the following claims:

 

 

 

 

 

 

 

 

 

 

Monthly Payment No. of Months
Creditor Collateral, if any Amount to Payoff
-NONE-
B. The effective date of this Plan shall be the date of entry of the Order of Confirmation.
C. Order of Distribution:
1. [X] The amounts to be paid to the Class One creditors shall be paid in full, except that the Chapter 13 Trustee's fee
shall be paid up to, but not more than, the amount accrued on actual payments made to date. After payment of the
Class One creditors, the amounts to be paid to cure the defaults of the Class Two A, Class Two B and Class Two C
creditors shall be paid in full before distributions to creditors in classes Three, Four, and Five (strike any portion of this
sentence which is not applicable). The amounts to be paid to the Class Three creditors shall be paid in full before
distributions to creditors in classes Four and Five. Distributions under the plan to unsecured creditors will only be
made to creditors whose claims are allowed and are timely filed pursuant to Fed.R.Bankr.P. 3002 and 3004 and after
payments are made to Classes One, Two A, Two B, Two C and Three above in the manner specified in Section IV.
2. [ ] Distributions to classes of creditors shall be in accordance with the order set forth above, except:
D. Motions to Void Liens under 11 U.S.C. § 522(f). In accordance with Fed.R.Bankr.P. 4003(d), the debtor intends to file,
or has filed, by separate motion served in accordance with Fed.R.Bankr.P. 7004, a motion to void lien pursuant to 11
U.S.C. § 522(f) as to the secured creditors listed below:
; Date Motion to Void Lien Date of Order Granting
Creditor Collateral, if any Filed Motion or Pending |
-NONE-

 

 

 

 

 

 

E. Student Loans:

I¥] No student loans
[_] Student loans are to be treated as an unsecured Class Four claim or as follows: __

F. Restitution:

i] No restitution owed
[_] The debtor owes restitution in the total amount of $__ which is paid directly to__in the amount of $__ per month

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for a period of __ months.
LJ The debtor owes restitution to be paid as follows: __

G. Other (list all additional provisions here):

VI. REVESTMENT OF PROPERTY IN DEBTOR
All property of the estate shall vest in the debtor at the time of confirmation of this Plan.

Vil. INSURANCE

Insurance in an amount to protect liens of creditors holding secured claims is currently in effect and will [ X ] will not [ ] (check
one) be obtained and kept in force throughout the period of the Plan.

 

Insurance Company, Policy No. and

 

Creditor to Whom This Coverage | Agent Name, Address and Telephone
Applies Collateral Covered Amount! No,

Reverse Mortgage 7651 Osage Street Denver, CO 170,000 | Shelter Insurance Companies
Solutions, Inc. 80221-3428 Adams County Agent - Amanda Shifflet

7970 Sheridan Blvd., Ste. 100a
Westminster, CO 80003-6201
(303) 430-1163

Adams County Treasurer 7651 Osage Street Denver, CO Shelter Insurance
80221-3428 Adams County

 

 

 

 

 

 

 

[ X ] Applicable policies will be endorsed to provide a clause making the applicable creditor a loss payee of the policy.

Vill, POST-CONFIRMATION MODIFICATION

The debtor must file and serve upon all parties in interest a modified plan which will provide for allowed priority and allowed secured
claims which were not filed and/or liquidated at the time of confirmation. The value of property to satisfy 11 U.S.C. § 1325(a)(4) may be
increased or reduced with the modification if appropriate. The modification will be filed no later than one year after the petition date.
Failure of the debtor to file the modification may be grounds for dismissal.

Dated: June 21, 2016 By: L.. on Oe MW pt eld

Vind Wcic
Signature of Debto
Dated: June 21, 2016 By:
Counsel to ebt oo

30508 x 474A Jack. Ves que

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